DENTONS US LLP
601 SOUTH FIGUEROA STREET , SUITE 2500

Case 22-02384-LT11 Filed 12/23/22 Entered 12/23/22 15:12:04 Doc 331 Pg.1of6

 

 

 

 

 

 

Los ANGELES , CALIFORNIA 80017-5704

Z
TILED
a= ENTERED
“ZU LopGep
ao vee’ TUT RECEIVED
1 | SAMUEL R. MAIZEL (Bar No. 189301) y eee . Bh
samuel.maizel@dentons.com a Sade fut
2 || TANIA M. MOYRON (Bar No. 235736) ** << DEC @1 2029 -.
DENTONS US LLP |e
3 . oa
601 South Figueroa Street, Suite 2500 a SOUTER ie TCY COURT
4 || Los Angeles, California 96017-5704 » [evr OF CALIFORNIA
Telephone: 213 623-9300 wy
5 || Facsimile: 213 623-9924 a
6 || Attorneys for the Chapter 11 Debtor
and Debtor In Possession
7 .
~ g UNITED STATES BANKRUPTCY COURT ~~~
9 SOUTHERN DISTRICT OF CALIFORNIA
10 |
11 || Inte Case No. 22-02384-11
= 12 || BORREGO COMMUNITY Chapter 11 Case
s HEALTH FOUNDATION,
a 13 Judge: Honorable Laura S. Taylor
a Debtor and Debtor In
a ‘14 Possession. NOTICE OF SALE PROCEDURES,
AUCTION DATE AND SALE
15 HEARING
16
17
18
19
20
21
22
23
24 "
25 : i
26 i i
27 ;
28
-|-
JM
BV -
122728738\V-8 v re 02484 No

 

 
UN A

Case 22-02384-LT11 Filed 12/23/22 Entered 12/23/22 15:12:04 Doc 331 Pg. 2o0f6

2
3
4
5
6
7
8
9
Sn 10
ae
Be 1
az
Ante 12
BEER
gag 3
Seam
revs 14
eS bi
“Ee 15
Bx 16
17
18
19
21
22
3
24
25
26
27
28

~ NOTICE OF SALE PROCEDURES,
AUCTION DATE, AND SALE HEARING

PLEASE TAKE NOTICE that, on November 10, 2022, the above-captioned
debtor and debtor in possession (the “Debtor”), filed the Debtor’s Notice Of Motion
And Motion For The Entry of (I) An Order (1) Approving Form Of Asset Purchase
Agreement; (2) Approving Auction Sale Format and Bidding Procedures, (3) Appro-
ving Process For Discretionary Selection Of Stalking Horse Bidder And Bid
Protections; (4) Approving Form Of Notice To Be Provided To Interested Parties;
(5) Scheduling A Court Hearing To Consider Approval Of The Sale To The Highest
And Best Bidder; And (6) Approving Procedures Related To The Assumption Of
Certain Executory Contracts And Unexpired Leases; And (II) An Order Authorizing
‘The Sale Of Property Free And Clear Of All Claims, Liens And Encumbrances
[Docket No. 161] (the “Motion”).' The Debtor seeks, among other things, to sell
substantially all of the Debtor’s assets (collectively, the “Purchased Assets”) to the
winning bidder(s) (the “Winning Bidder”), at an auction free and clear of all liens,
claims, encumbrances and other interests pursuant to §§ 363 and 365 of the
Bankruptcy Code, 11 U.S.C. § 101, et seq., subject to the objections of the California
Department of Health Care Services and United States Department of Health and
Human Services to be heard at or before the Sale Hearing.

PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court approved
the bidding procedures at a hearing on December 7, 2022 and will enter an order (the
“Bidding Procedures Order”) approving the Motion and the bidding procedures (the
“Bidding Procedures”), which will set the key dates and times related to the Sale of
the Purchased Assets. All interested bidders should carefully read the Bidding
Procedures Order and the Bidding Procedures. To the extent that there are any
inconsistencies between the Bidding Procedures Order (including the Bidding
Procedures) and the summary descriptiqn of its terms and conditions contained in

“this Notice, the-terms of the Biddi ing: ‘Procedures Order shall control,

PLEASE TAKE FURTHER NOTICE that to participate in the Auction,
any party (a “Potential Bidder”) wishing to submit a Bid to purchase the Purchased
Assets must execute, or have executed, a nondisclosure agreement (“NDA”) in the
form provided by Debtor’s advisors and in form and substance satisfactory to the
Debtor before such Potential Bidder may receive due diligence information from the
Debtor, including access to the Debtor’s on-line data room or other non-public
information relating to the Purchased Assets. In addition, any Potential Bidder must
submit financial information to the Debtor, who shall provide such. financial
information to the. Committee’s professionals upon request, to evidence such

 

' Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

 

122728738\V-8

   

 
DENTONS US LLP
601 SOUTH FIGUEROA STREET , SUITE 2500

Case 22-02384-LT11 Filed 12/23/22. Entered 12/23/22 15:12:04 Doc 331 Pg. 3o0f6

_

Potential Bidder’s ability to consummate the Sale, which information must be

LoS ANGELES , CALIFORNIA $001 7-5704

4 || satisfactory to the Debtor after consultation with the Committee.
3 PLEASE TAKE FURTHER NOTICE that on or before January 5, 2023,
4 || any Potential Bidder must submit an Indication of Interest to purchase the Purchased
Assets to the Debtor and the Committee, which includes (1) the proposed structure
5 |j of the transaction; putchase price and any material terms; (2) a description of the
6 acquiring entity arid relevant experience; (3) proposed plans for the assets following
consummation of the sale transaction; (4) evidence of financial capacity to complete
7 || the transaction; (5) authority and approval to complete the transaction; (6) a detailed
3 description of the due. diligence information and / or investigation you may require
to submit a Bid; (7) a proposed timetable for consummating the transaction; and (8)
9 || contact information for the Potential Bidder.
10 PLEASE TAKE FURTHER NOTICE that only those parties that submit
11 || Qualified Bids may participate in the Auction. If you are interested in submitting a
Qualified Bid, you must comply with the Bidding Procedures. Any party in interest
s 12 || wishing to receive relevant documents and available marketing materials may do so
ch 13 || by contacting Ankura, 2021 McKinney Avenue, Suite 340, Dallas, Texas 75201
= 14 (Attn: CJ Pease (charles. pease@ankura.com).
15 PLEASE TAKE FURTHER NOTICE that any party that has not received a
copy of the Motion or the Bidding Procedures Order that wishes to obtain a copy of
16 || the Motion or the Bidding Procedures Order, including all exhibits thereto, may make
17 such a request in writing to Dentons US LLP, Attn: Tania M. Moyron, Suite 2500,
601 South Figueroa Street, Los Angeles, CA 90017 or by emailing tania:moyron@
18 || dentons.com or calling (213) 623-9300.
19 PLEASE TAKE FURTHER NOTICE that any party that wishes to take part
20 || in the bidding process and submit a Qualified Bid for the Purchased Assets must
submit its competing bid by no later than 5:00 p.m. (prevailing Pacific Time)
21} y anuary 23, 2023 (the “Bid Deadline”) so that such Bids are actually received by the
22 || Bid Deadline by all of the following parties: (i) counsel to the Debtor: Dentons US
LLP, 601 South Figueroa Street, Suite 2500, Los Angeles, California 90017 (Attn:
23! Samuel R. Maizel (samuel. maizel@denttons. com) and Tania M. Moyron
24 || (tania. moyron@deniins. com)); (ii) financial advisor to the Debtor: Ankura, 2021
McKinney Avenue, Suite 340, Dallas, Texas 75201 (Attn: CJ Pease (charles.pease@
23 I ankura. com)); (iii) the Office of the United States Trustee (the “U.S. Trustee”): 880
26 || Front Street, Roomi 3230, San Diego, Califottiia 92101 (Attn: David Ortiz (david.a.
77 ortiz@usdoj.gov)); (iv) counsel to the Coiritiittee: Pachulski Stang Ziehl & Jones
LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067 (Attn:
28 || Jeffrey N. Pomeranitz (jpomerantz@pszj law.com) and Steven W. Golden (sgolden@

-3-

 

122728738W-8

 
QT A A AA

nove

Case 22-02384-LT11 Filed 12/23/22 Entered 12/23/22 15:12:04 Doc 331 Pg.4of6

DENTONS US LLP
601 SOUTH FIGUEROA STREET , SUITE 2500

Los ANGELES , CALIFORNIA 90017-5704

(213) 623-9300

1nKant 4

—

wo NM NM NM ON NN ON ON S| Se BK Se eS lS US Uc lc Sl
eo 4A A & BD BH —& S&F © Oo I DH NH F&F WwW YP = GS

So co ~~ HA tr & WwW No

 

wna

pszjlaw.com)); and (v) financial advisor to the Committee: FTI, 350 South Grand
Avenue, Suite 3000, Los Angeles, California 90071 (Attn: Cynthia Nelson (cynthia.
nelson@fticonsulting.com) and Marc Bilbao (marc. bilbao@fticonsulting. com))
(collectively, the “Notice Parties”).

PLEASE TAKE FURTHER NOTICE that Potential Bidders may either
e-mail their Bids to the e-mail addresses listed above or may deliver hard-copies of
their Bids to the physical addresses listed above so that they are actually received by
the Bid Deadline. The Debtor shall have no obligation to consider any other delivery
format, such as fax, as being acceptable.

PLEASE TAKE FURTHER NOTICE that the Debtor may, after
consultation with the Committee, extend the Bid Deadline until the commencement
of the Auction for one or more Potential Bidders without prior notice, but shall have
no obligation to do so under any circumstances.

PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the
Bidding Procedures, an auction (the ““Auction’”) to sell the Purchased Assets will be
conducted on February 6, 2023 at 10:00 a.m. (prevailing Pacific Time) at the
offices of Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los Angeles,
California 90017. In advance of the Sale Hearing and within two business days of the
conclusion of the Auction (if such Auction is conducted), the Debtor shall file a
notice with the Bankruptcy Court identifying the Winning Bidder.

 

PLEASE TAKE FURTHER NOTICE that a hearing will be held to approve
the sale of the Purchased Assets to the Winning Bidder (the “Sale Hearing”) before
the Honorable Laura S. Taylor, United States Bankruptcy Judge, United States
Bankruptcy Court for the Southern District of California, Dept. 3 — Courtroom 129,
325 West F Street, San Diego, California, on February 22, 2023, at 1:00 p.m.
@reyailing Pacific Time), or at-such time thereafter as counsel may ,be heard or at

‘such other time as the Bankruptcy Court may determine. The Sale: Hearing may be

adjourned from time to time without further notice to creditors or parties in interest
other than by announcement of the adjournment in open court on the date scheduled
for the Sale Hearing. Objections to the Sale shall be filed with the Bankruptcy Court
and served so as to be received no later than February 13, 2023, at 5:00 p.m.
(prevailing Pacific Time) on the Notice Parties.

PLEASE TAKE FURTHER NOTICE that this Notice of the Auction and
Sale Hearing is subject to the full terms and conditions of the Motion, Bidding
Procedures Order and Bidding Procedures, which Bidding Procedures Order shall
control in the event of any conflict, and the Debtor encourages parties in interest to
review such documents in their entirety. Any party that has not received a copy of
the Motion or the Bidding Procedures Order that wishes to obtain a copy of the

4.

122728738\WV-8

ZIKWIIDMANIIE ata | te vite, Mase,

 
Case 22-02384-LT11 Filed 12/23/22 Entered 12/23/22 15:12:04 Doc331 Pg.50f6

DENTONS US LLP
601 SOUTH FIGUEROA STREET , SUITE 2500

Los ANGELES , CALIFORNIA 90017-5704

(213) 623-9300

oO FF SN DH AN

10
11
12

13

14
15
16
17
18
19
20
21
22
23
24
25

26

27
28

Motion, the Bidding Procedures Order (including all exhibits thereto) may make such
a request in writing to Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los
Angeles, California 90017 (Attn: Tania M. Moyron (tania.moyron@dentons.com))
or calling (213) 623-9300.

PLEASE TAKE FURTHER NOTICE THAT THE DEBTOR RESERVES
ITS RIGHTS TO MODIFY THESE BIDDING PROCEDURES IN ANY MANNER
IN CONSULTATION WITH THE COMMITTEE THAT WILL BEST PROMOTE
THE GOALS OF THE BIDDING PROCESS. THE DEBTOR FURTHER
RESERVES ITS RIGHTS, UNLESS OTHERWISE ORDERED BY THE COURT,
-TQ- IMPOSE, IN CONSULTATION WITH THE COMMITTEE, AT OR PRIOR
TO THE AUCTION, ADDITIONAL TERMS AND CONDITIONS ON THE SALE
OF THE PURCHASED ASSETS, INCLUDING, WITHOUT LIMITATION,
EXTENDING THE DEADLINES SET FORTH IN THESE BIDDING
PROCEDURES, ADJOURNING THE AUCTION AT OR PRIOR TO THE
AUCTION AND/OR ADJOURNING THE SALE HEARING PRIOR TO SUCH
HEARING OR IN OPEN COURT WITHOUT FURTHER NOTICE, AND
REJECTING ANY OR ALL QUALIFIED BIDS IF, IN THE DEBTOR’S
REASONABLE, GOOD-FAITH BUSINESS JUDGMENT, FOLLOWING
CONSULTATION WITH THE COMMITTEE, THE DEBTOR DETERMINES
THAT SUCH QUALIFIED BID IS (1) INADEQUATE OR INSUFFICIENT, (II)
NOT IN CONFORMITY WITH THE REQUIREMENTS OF THE BANKRUPTCY
CODE OR ANY RELATED RULES OR THE TERMS SET FORTH HEREIN, OR
(III) CONTRARY TO THE BEST INTERESTS OF THE DEBTOR. THE DEBTOR
RESERVES THE RIGHT, AT ANY TIME; AND IN CONSULTATION WITH
THE COMMITTEE, FOR ANY REASON AND IN ITS REASONABLE,
BUSINESS JUDGMENT, TO DECLINE TO PURSUE THE SALE AND TO
WITHDRAW ANY MOTION FILED IN THE COURT SEEKING TO APPROVE
THE SALE.

Dated: December 12, 2022 DENTONS US LLP
SAMUEL R. MAIZEL
. TANIA M. MOYRON

By __/s/ Tania M. Moyron
Tania M. Moyron

.Attorneys for the Chapter 11 Debtor
- and Debtor In Possession

 

122728738W-8

 
Case 22-02384-LT11 Filed 12/23/22 Entered 12/23/22 15:12:04 Doc 331 Pg. 6of6

 

 

    

ec*
fe

9 eon
3 NS
|) 8:
Qc
gs _ =
Lu © u .
Qa
2 ON] 9 5
DES s Ee)
oO (*\ no ov ©
o. | ~ eo OQ
A. ROTO s
SF hss 2
* :
a
o
>

 

CL
SOUTHERN DISTRICT OF CALIFORNIA

BY JR

 

 

 

 

 

spall by pp AA gyi

      

 

PRET

    

          

 

atten OS
ba Ele

6,

one}

  
  

 
  

~
SEOOSN
SAD PRIS
SK SC
RS 3

       
  
 

 

  
   

is
ry, i
ee
PRON

    
     

    

Se
Oe

Sea
PRA
0
mR Bas ROR
SPOR

o>
5

     
   

OFFICE OF THE CLERK
333 WEST BROADWAY, SUITE 420
SAN DIEGO, CALIFORNIA 92101
OFFICIAL BUSINESS

—

ex
a8
Of
BZ
QS
ru
Eo
ne
Ooo
me
LO
ra
Ez
2 &
ae
E3
2Zz2n
>
